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Federal Bureau of PriSOnS

Federa]. Detention Cem‘er

 

2425 .S`Outll 200!}: Street
P.O. Br)x 13901
Seat£!e', Wa.»"hingmn 98]98-1091`

Offl`ce oflhe Warden

July 26, 229-es

The Honorable Jon Phipps McCalla
United States District Court Judge
Davis Federal Building

167 North Main Street

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Memphis, Tennessee 38103
log GWHHTT - !II!
RE: Scott, Joel Edward m . 361{ §H;§§§i§,§ogm
Reg. No.= 20179-076 n 3- m
case No.= 05-20089-MI _ wish § psi

 

 

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Dear Judge McCalla: Lmn
In accordance with your court order dated June 30, 2005,
Mr. Scott has been committed to the Federal Detention Center,
SeaTac, Washington, for a period of study to determine his mental
competency and criminal responsibility.

In order for our staff to thoroughly evaluate Mr. Scott, we are
requesting that the 45-day study Commence With the arrival Of the
defendant on July 21, 2005. If you concur, the study period
would therefore end on September 4, 2005, with the final report
being submitted to you no later than September 19, 2005. If the
Court has questions or comments regarding the evaluation please
contact Patricia A. Hyatt, Ph.D., Forensic Unit Psychologist, at
(206) 870-1016.

If we can be of further assistance to the Court,
hesitate to contact us.

please do not

Sincerely,

M

Robert J.
jbwarden

Palmquist

cc: Daniel Newsom, AUSA

Eugene Laurenzi,

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Defense Counsel

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 28 in
case 2:05-CR-20089 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

 

 

Dan NeWsom

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Honorable J on McCalla
US DISTRICT COURT

